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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Laith Saud,                                  )
                                              )
                       Plaintiff,             )
                                              )     Case No. 19-cv-3945
                v.                            )
                                              )     Judge Joan B. Gottschall
 DePaul University,                           )
                                              )
                       Defendant.             )

                                            ORDER
       Before the court in this 42 U.S.C. § 1981 employment discrimination suit are cross
motions for summary judgment filed by plaintiff Laith Saud (“Saud”) and his former employer,

defendant DePaul University (“DePaul”). The court also has before it Saud’s motion to sanction

DePaul and its attorneys.

                                    Procedural Background
       According to his live complaint, Saud, an Arab man, taught in DePaul’s religious studies

department for 12 years, from approximately 2005 until 2017. Second Am. Compl. ¶¶ 2, 6, 110,

ECF No. 40. As discussed more fully below, Saud brought this suit after DePaul decided not to

rehire him for the 2017–18 school year, a decision he alleges was discriminatory. See id. ¶ 110.

Saud also challenges a subsequent investigation that resulted in his being banned from being

rehired at DePaul and from participating in DePaul-sponsored events. See id. ¶ 111. Judge Dow

presided over this case from its filing in 2019 until October 2022, when the case was randomly

reassigned to the undersigned. See Ord. of Exec. Comm., ECF No. 194 (N.D. Ill. Oct. 11, 2022);

see also Status Report 4–8, Oct. 26, 2022, ECF No. 196 (summarizing procedural history).
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        One claim is pending before this court—the § 1981 claim alleged in count VII of the

second amended complaint.1 Saud v. DePaul Univ., 2020 WL 5702165, at *10 (N.D. Ill.

Sept. 24, 2020).

        The parties conducted discovery on Saud’s § 1981 claim under Judge Cox’s supervision.

See Status Report 8–14, Oct. 26, 2022, ECF No. 196 (summarizing discovery rulings the parties

consider pertinent). After fact discovery closed on April 22, 2022, ECF Nos. 143 and 144, the

parties filed their pending cross motions for summary judgment, which were fully briefed in

August 2022.

        About two months later, Saud’s attorney sent defense counsel a letter advising that Saud

intended to move for sanctions. Letter dated Oct. 25, 2022, ECF No. 198-1. The pending

sanctions motion was filed on November 18, 2022.

                                   Summary Judgment Motions
        Summary judgment must be entered “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). A genuine dispute as to any material fact exists if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). In resolving summary judgment motions, “facts must be viewed in

the light most favorable to,” and all reasonable inferences from that evidence must be drawn in

favor of, the nonmoving party–but “only if there is a ‘genuine’ dispute as to those facts.” Scott v.

Harris, 550 U.S. 372, 380 (2007); Blasius v. Angel Auto., Inc., 839 F.3d 639, 644 (7th Cir. 2016)

(citing Cairel v. Alderden, 821 F.3d 823, 830 (7th Cir. 2016)). The parties’ cross motions for

summary judgment raise overlapping factual and legal issues. The court applies the procedural

requirements of Rule 56 separately to each cross motion. See Blow v. Bijora, Inc., 855 F.3d 793,

797 (7th Cir. 2017) (citation omitted); Hotel 71 Mezz Lender LLC v. Nat’l Ret. Fund,

————————————————————
1   On November 2, 2020, Saud advised that he did not wish to file a third amended complaint
    attempting to replead the federal claims dismissed by Judge Dow. Min. Entry, ECF No. 62; see also
    Saud v. DePaul Univ., 2020 WL 5702165, at *4–9.


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778 F.3d 593, 603 (7th Cir. 2015); Santaella v. Metro. Life Ins. Co., 123 F.3d 456, 461 (7th Cir.

1997).

   A. Local Rule 56.1
         This court’s Local Rule (“LR”) 56.1 specifies the procedure for presenting facts a party

contends are undisputed and material. Local Rule 56.1(a)(2) requires a party moving for

summary judgment to submit “a statement of material facts.” The nonmoving party may also

submit a “statement of additional material facts.” LR 56.1(b)(3). Here, neither party has filed an

LR56.1(b)(3) statement of additional facts. The fact statements must “consist of concise

numbered paragraphs” and each paragraph must be “supported by citation to the specific

evidentiary material, including the specific page number, that supports it. The court may

disregard any asserted fact that is not supported with such a citation.” LR 56.1(d)(1)‒(2).

         The opposing party may file a response to a fact statement. See LR 56.1(b)(2), (c)(2).

“Each paragraph [of the response] shall set forth the text of the asserted fact (including its

citations to the supporting evidentiary material), and then shall set forth the response.”

LR 56.1(e)(1).

         (2) Content. Each [paragraph of the] response must admit the asserted fact, dispute
             the asserted fact, or admit in part and dispute in part the asserted fact. If the
             response admits in part and disputes in part the asserted fact, it must specify
             which part of the asserted fact is admitted and which part is disputed. A
             response may not set forth any new facts, meaning facts that are not fairly
             responsive to the asserted fact to which the response is made. A response may
             not assert legal arguments except to make an objection, including objections
             based on admissibility, materiality, or absence of evidentiary support. Motions
             to strike all or portions of an opposing party’s LR 56.1 submission are
             disfavored. If a party contends that its opponent has included objectionable or
             immaterial evidence or argument in a LR 56.1 submission, the party’s argument
             that the offending material should not be considered should be included in its
             response or reply brief. In the event that the objection is overruled, the failure
             to admit or dispute an asserted fact may constitute a waiver.

         (3) Citations. To dispute an asserted fact, a party must cite specific evidentiary
             material that controverts the fact and must concisely explain how the cited
             material controverts the asserted fact. Asserted facts may be deemed admitted
             if not controverted with specific citations to evidentiary material.
LR 56.1(e)(2)‒(3).



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   B. Local Rule 56.1 Violations
       The formal requirements of LR 56.1 aid the just, speedy, and inexpensive resolution of

litigation by ensuring that “the facts material to the issues in the case and the evidence supporting

such facts are clearly organized and presented for the court's summary judgment determination.”

Curtis v. Costco Wholesale Corp., 807 F.3d 215, 219 (7th Cir. 2015). The Seventh Circuit has

therefore “routinely upheld the district court’s discretion in requiring parties to comply strictly

with local rule requirements.” Id. (quoting Cracco v. Vitran Express, Inc., 559 F.3d 625, 632

(7th Cir. 2009)). Due to the many and voluminous LR 56.1 violations discussed below, the

parties’ LR 56.1 fact statements, responses, and legal memoranda make it impossible for the

court to perform its function at summary judgment—determining what the facts and arguments

are, what facts are disputed, whether the purported disputes are genuine and material, and

whether there is a genuine issue for trial.

       First, the parties’ LR 56.1 fact statements and responses are rife with improper extended

legal arguments, factual arguments, and arguments concerning what inferences a reasonable jury

could draw from the evidence. As a rough illustration of the volume of argument, Saud’s

LR 56.1(a)(2) fact statement, ECF No. 166, consists of 26 pages. DePaul’s response, ECF

No. 175, is more than twice as long at 72 pages.

       “If a party contends that its opponent has included objectionable or immaterial evidence

or argument in a LR 56.1 submission, the party’s argument that the offending material should not

be considered should be included in its response or reply brief.” LR 56.1(e)(2). Hence, it is

appropriate to include an objection in an LR 56.1(e) response to a fact statement, but the legal

argument supporting the objection must go in the legal memoranda. “It is inappropriate to make

legal arguments,” including legal arguments in support of objections, “in a Rule 56.1 statement

of facts.” Judson Atkinson Candies, Inc. v. Latini-Hohberger Dhimantec, 529 F.3d 371, 382 n.2

(7th Cir. 2008) (citations omitted); see also Patterson v. Ind. Newspapers, Inc., 589 F.3d 357,

359–60 (7th Cir. 2009). As explained in Malec v. Sanford, 191 F.R.D. 581, 584 (N.D. Ill. 2000),

the leading case on Local Rule 56.1, “The purpose of the 56.1 statement is to identify for the


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Court the evidence supporting a party’s factual assertions in an organized manner: it is not

intended as a forum for factual or legal argument.” All legal and factual arguments belong in the

parties’ legal memoranda and nowhere else.2 See Keeton v. Morningstar, Inc., 667 F.3d 877, 884

(7th Cir. 2012); Judson Atkinson Candies, 529 F.3d at 382 n.2 (citation omitted); Cady v.

Sheahan, 467 F.3d 1057, 1060 (7th Cir. 2006); Rivera v. Guevara, 319 F. Supp. 3d 1004, 1018

(N.D. Ill. 2018) (Gottschall, J.). As this court has explained,

        By . . . including an argument in a response to a Local Rule 56.1(a)(3) response, the
        party resisting summary judgment deprives the moving party of the chance to reply.
        Including arguments in a Local Rule 56.1(b)(2) memorandum of law or in a
        separate motion to strike avoids these problems by permitting full adversary
        presentation.
Landry v. Abbott Lab’ys, 2020 WL 1848209, at *3 (N.D. Ill. Apr. 13, 2020) (quoting Brownlee v.

Cath. Charities of the Archdiocese of Chi., 2020 WL 977968, at *3 (N.D. Ill. Feb. 28, 2020)).

        In their legal memoranda, the parties discuss in cursory fashion objections and arguments

made in the LR 56.1(e) responses to fact statements. The parties develop their legal arguments

and objections in far greater detail in their LR 56.1(e) responses. For instance, DePaul makes a

one-sentence objection in its memorandum to Saud’s citations to DePaul’s privilege log. ECF

No. 174 at 3. The fully developed form of this argument spans three pages–74 single-spaced

lines and one footnote–in DePaul’s response to Saud’s fact statement. See ECF No. 175 at 21–

23. This is improper and backwards. A party “cannot bootstrap the improper arguments in

its . . . response [to a fact statement] by incorporating them by reference into its [response or]

reply brief.” Landry, 2020 WL 1848209, at *3.

        Second, while failing to file a statement of additional facts, the parties improperly assert

new facts in response to many paragraphs of the fact statements. For instance, Saud responds to

several paragraphs of DePaul’s fact statement by stating that the paragraph is undisputed and
————————————————————
2   This court’s standing order on summary judgment motions states, “All argument on both factual and
    legal issues should be addressed in the [movant’s] memorandum,” and the opposing party’s
    memorandum “is the document in which all argument should be contained.” Gottschall Standing
    Order Re. Mots. for Summ. J. at 1, available at
    https://www.ilnd.uscourts.gov/_assets/_documents/_forms/_judges/gottschall/Summary%20Judgment
    %20Motions.pdf.


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arguing that additional facts are relevant or should be noted. See Charts, infra. Additional facts

may not be included in an LR 56.1(e) response to a paragraph of a fact statement; they belong in

a LR 56.1(b)(3) statement of additional facts. See, e.g., Ammons v. Aramark Unif. Servs., Inc.,

368 F.3d 809, 817 (7th Cir. 2004).

          Third, the parties cross-reference other paragraphs of the fact statements and responses in

their LR 56.1(e) responses. A party may not respond to a paragraph of a fact statement by citing

to another fact statement; doing this “saves counsel time but offloads on the court the burden of

identifying what is factually disputed and whether the dispute is material.” Rivera, 319 F. Supp.

3d at 1019 (quoting Schlessinger v. Chi. Hous. Auth., 130 F. Supp. 3d 1226, 1228 (N.D. Ill.

2015)).

          The following charts summarize the Local Rule 56.1 violations discussed above:

               Defendant’s Response to Plaintiff’s Statement of Facts (ECF No. 175)
    Response to paragraph contains      ¶¶ 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17,
    legal argument                      18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29, 30, 32, 33,
                                        34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 46, 47, 48, 49,
                                        50, 51, 52, 53, 54, 55, 58, 59, 60, 61, 62, 63, 64, 65, 66,
                                        67, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78
    Response to paragraph contains new 3, 13, 14, 17, 19, 20, 21, 23, 28, 33, 36, 39, 44, 47, 49,
    facts                               50, 51, 58, 60, 62, 66, 67, 68
    Response to paragraph contains      1, 2, 4, 5, 6, 7, 8, 10, 11, 13, 14, 15, 16, 20, 21, 22, 23,
    improper argument: Original         24, 26, 27, 28, 29, 30, 34, 35, 36, 37, 38, 39, 40, 41, 42,
    paragraph misstates the evidence or 43, 44, 46, 47, 48, 49, 50, 51, 52, 54, 58, 59, 60, 61, 62,
    is not supported by the cited       63, 64, 65, 66, 67, 68, 69, 70, 71, 72, 74, 75, 76, 77, 78
    evidence3
    Response to paragraph contains      29, 33, 40, 69, 71, 73, 75, 76
    improper argument: Original
    paragraph improperly relies on
    defendant’s privilege log
    Response to paragraph contains      18, 64, 66
    improper argument: Original
    paragraph relies on
    speculation/personal knowledge


          Plaintiff’s Response to Defendant’s Rule 56 Statement of Facts (ECF No. 181)
    Response to paragraph contains new ¶¶ 3, 4, 9, 10, 11, 12, 14, 17, 19, 22, 25, 27, 29, 34, 35,
    facts                                40, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54,

————————————————————
3     Defendant objects that paragraph 26 of plaintiff’s statement of fact adds italics to a quotation without
      noting that emphasis was added. See Def.’s Resp. to Pl.’s Stmt. of Facts ¶ 26, ECF No. 175.

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                                          55, 56, 57, 58, 59, 60, 61, 62, 63, 66, 67, 68, 69, 70, 71,
                                          72, 73, 75, 76, 78, 79, 80
 Response to paragraph contains           3, 4, 8, 17, 22, 24, 25, 29, 33, 34, 35, 40, 41, 42, 43, 44,
 improper argument                        45, 46, 47, 48, 49, 50, 52, 53, 54, 55, 56, 57, 58, 60, 61,
                                          62, 66, 67, 68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 79, 80
 Response to paragraph cross-             3, 4, 9, 10, 14, 15, 17, 22, 34, 35, 40, 41, 43, 45, 46, 48,
 references plaintiff’s statement of      49, 50, 51, 52, 53, 56, 57, 58, 59, 60, 62, 66, 67, 68, 69,
 facts                                    70, 71, 73, 75, 76, 79
 Response to paragraph cross-             61, 80
 references another paragraph of his
 document
 Response to paragraph contains           24, 25
 improper argument: Original
 argument contains hearsay/double
 hearsay
 Response to paragraph contains           8, 29, 42, 54, 68, 76, 77
 improper argument: Original
 paragraph improperly uses
 declaration(s) to “clean up”
 testimony
 Response to paragraph contains           34, 47, 57
 improper argument: Original
 paragraph contains improper
 characterizations of evidence
 Response to paragraph contains           21
 improper argument: Original
 paragraph relies on
 speculation/personal knowledge
 Response to paragraph contains           33
 improper argument: Original
 paragraph assumes facts not in
 evidence

       Further confusing matters, both sides often phrase fact statements in terms of what a
witness testified at a particular hearing or deposition, rather than offering an allegedly

uncontested fact with a citation to supporting evidence. The responding party often counters by

citing to other testimony or evidence. These exchanges blur what fact is sought to be proven by

the testimony or other evidence and exactly what fact is disputed, as in the following example,

which has been selected for its relative simplicity:

       7. Ortiz testified she did not recall the email, but was “sure” it was sent “for our
       information” to let higher-ups know of events planned for inauguration day. Ex. 8,
       92-94. Ortiz did not know why they were notified of this event and not others. Ex.
       8, 94.

       DePaul’s Response: DePaul objects to this Paragraph on the basis it is immaterial
       for purposes of summary judgment for the reasons stated in DePaul’s Response

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       Brief. DePaul objects to the statement that “Ortiz did not know why they were
       notified of this event and not others” on the basis it is not supported by the cited
       record evidence and misstate [sic] the cited record evidence. See De v. City of
       Chicago, 912 F. Supp. 2d 709, 712 (N.D. Ill. 2012); Hunt v. Dart, 754 F. Supp. 2d
       962, 979-80 (N.D. Ill. 2010).

       Disputed that Ortiz testified she did not know why they were notified of this event
       and not others. Ortiz testified her office is not informed of all events, and she did
       not know why she was notified of this particular event. (Pl. App’x Exhibit 8 (“Ortiz
       Dep.”) at 94:2-6).
Def.’s Resp. to Pl.’s Stmt. of Facts ¶ 7, ECF No. 175.

       Does Saud contend that Ortiz does not know why the email message was sent? Or is

Saud attempting to establish that it is undisputed that the email message was sent to advise

superiors of an event occurring on Inauguration Day? Does DePaul assert that a genuine dispute

exists on one or both of these propositions? This sort of ambiguity must be avoided by

eliminating phrases such as ‘the witness testified’ from the definition of the fact sought to be

established. Local Rule 56.1(d)(2) requires a paragraph of a fact statement to differentiate

between (1) the fact alleged to be undisputed; and (2) the “evidentiary material” supporting item

one. The parties’ fact statements and responses repeatedly violate this tenet. See, e.g., Def.’s

Stmt. of Facts ¶¶ 21, 24, 31, 35, 49, 50, 54, 63, 64, 65, 68, 74, 75, ECF No. 150; Pl.’s Stmt. of

Facts ¶¶ 7, 9, 10, 15, 17, 19, 21, 26, 34, 38, 39, 43, 44, 45, 49, 65, 67, 77, ECF No. 166.

Unravelling what facts are at issue in these paragraphs, and whether they are genuinely disputed,

is impossible.

       [The factual statements required by Rule 56.1 and its counterparts] are not merely
       superfluous abstracts of the evidence. Rather, they are intended to alert the court
       to precisely what factual questions are in dispute and point the court to the specific
       evidence in the record that supports a party's position on each of these questions.
       They are, in short, roadmaps, and without them the court should not have to proceed
       further, regardless of how readily it might be able to distill the relevant information
       from the record on its own.
Waldridge v. Am. Hoechst Corp., 24 F.3d 918, 923 (7th Cir. 1994) (footnote and internal citations

omitted).

       The parties’ violations of LR 56.1 discussed above have left the court without the

roadmap the rule requires, thereby shifting to the court the virtually impossible task of

attempting to discern which, if any, portions of the fact statements and responses support each

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fact and whether a genuine dispute exists. The parties’ cross motions for summary judgment

present a fact-intensive dispute in which nearly every factual assertion, inference, and legal

argument is contested. As discussed above, many important issues, such as DePaul’s attorney-

client privilege arguments, have been briefed in LR 56.1(e) responses, thereby depriving the

opposing party of the chance to respond and the court of the benefit of adversary briefing on the

issue. The Seventh Circuit has “repeatedly held that district judges are entitled to insist on strict

compliance with local rules designed to promote the clarity of summary judgment filings,” and

this is such a case. Stevo v. Frasor, 662 F.3d 880, 887 (7th Cir. 2011) (citation omitted). The

court therefore strikes the parties’ LR 56.1 fact statements and responses and denies the parties’

cross motions for summary judgment without prejudice.

                                       Motion for Sanctions
       Saud moves for sanctions under Rule 11 of the Federal Rules of Civil Procedure,

28 U.S.C. § 1927, and the court’s inherent powers.

   A. Legal Standards
       Rule 11(b) provides:

       (b) Representations to the Court. By presenting to the court a pleading, written
           motion, or other paper--whether by signing, filing, submitting, or later
           advocating it--an attorney or unrepresented party certifies that to the best of the
           person's knowledge, information, and belief, formed after an inquiry reasonable
           under the circumstances:

           (1) it is not being presented for any improper purpose, such as to harass, cause
               unnecessary delay, or needlessly increase the cost of litigation;

           (2) the claims, defenses, and other legal contentions are warranted by existing
               law or by a nonfrivolous argument for extending, modifying, or reversing
               existing law or for establishing new law;

           (3) the factual contentions have evidentiary support or, if specifically so
               identified, will likely have evidentiary support after a reasonable
               opportunity for further investigation or discovery; and

           (4) the denials of factual contentions are warranted on the evidence or, if
               specifically so identified, are reasonably based on belief or a lack of
               information.
Fed. R. Civ. P. 11(b).


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       Section 1927 permits the court to sanction “[a]ny attorney or other person admitted to

conduct cases in any court of the United States or any Territory thereof who so multiplies the

proceedings in any case unreasonably and vexatiously.” 28 U.S.C. § 1927. Section 1927

sanctions “are proper if the attorney ‘has acted in an objectively unreasonable manner by

engaging in a serious and studied disregard for the orderly process of justice . . . or where a claim

[is] without a plausible legal or factual basis and lacking in justification.’ ” Lightspeed Media

Corp. v. Smith, 761 F.3d 699, 708 (7th Cir. 2014) (alterations in original) (quoting Walter v.

Fiorenzo, 840 F.2d 427, 433 (7th Cir. 1988)). The court’s inherent powers include “the ability to

fashion an appropriate sanction for conduct which abuses the judicial process.” Fuery v. City of

Chicago, 900 F.3d 450, 452 (7th Cir. 2018) (quoting Goodyear Tire & Rubber Co. v. Haeger,

581 U.S. 101, 107 (2017)).

   B. Compliance with Rule 11’s Safe Harbor Provision
       As a threshold matter, Rule 11(c)(2) contains a safe harbor provision: a motion for

Rule 11 sanctions “must be served under Rule 5, but it must not be filed or be presented to the

court if the challenged paper, claim, defense, contention, or denial is withdrawn or appropriately

corrected within 21 days after service or within another time the court sets.” Fed. R. Civ.

P. 11(c)(2). The record contains a one-page cover letter dated October 25, 2022, sent by Saud’s

lawyer to DePaul’s attorneys. Mot. for Sanctions Ex. A, ECF No. 198-1. The transmittal letter

states that a draft sanctions motion is attached, but a copy of the draft motion has not been

docketed. See id. One of DePaul’s attorneys responded by letter dated November 15, 2022, and

declined to withdraw their summary judgment papers. Mot. for Sanctions Ex. B, ECF No. 198-

2. Without the draft sanctions motion (given that the one-page letter contains no legal argument),

the record is insufficient to find that Saud substantially complied with Rule 11(c)(2). Cf. N. Ill.

Telecom, Inc. v. PNC Bank, N.A., 850 F.3d 880, 888–89 (7th Cir. 2017) (holding letter containing

legal argument substantially complied with Rule 11(c)(2), despite failure to attach sanctions

motion); Nisenbaum v. Milwaukee Cnty., 333 F.3d 804, 808 (7th Cir. 2003) (same); but see

McGreal v. Vill. of Orland Park, 928 F.3d 556, 558–59 (7th Cir. 2019) (discussing, but not

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reaching, criticisms that the substantial compliance standard does not comport with

Rule 11(c)(2)’s text). Nevertheless, DePaul has waived any Rule 11(c)(2) notice objection by

failing to raise one in its response, ECF No. 201.4 McGreal, 928 F.3d at 559 (citing Laserage

Tech. Corp. v. Laserage Lab’ys., Inc., 972 F.2d 799, 804 (7th Cir. 1992)).

    C. Analysis
        Saud asks the court to sanction DePaul and its attorneys for taking three factual positions

at summary judgment and throughout this litigation. See Mot. for Sanctions 2, ECF No. 198.

The “sanctionable conduct,” argues Saud,

        can be boiled down to the advancement of three demonstrably false claims
        presented in Defendant’s papers. (1) Defendant now claims Plaintiff was the
        subject of two “additional” complaints from former Middle Eastern/Muslim
        students; (2) that his supervisor cancelled his courses in July 2017 and (3) that
        DePaul’s ADAH policy [(Anti-Discrimination and Anti-Harassment Policy and
        Procedures)] prohibits relationships between faculty and students.
Id. at 2.

        On a Rule 11 motion, the court applies “an objective test . . . to determine whether

counsel made a reasonable inquiry into the factual and legal basis of the claims asserted” in a

paper presented to the court. Gottlieb v. Westin Hotel Co., 990 F.2d 323, 329 (7th Cir. 1993)

(citing In re Ronco, Inc., 838 F.2d 212, 217 (7th Cir. 1988); other citation omitted); see also

Mars Steel Corp. v. Cont’l Bank N.A., 880 F.2d 928, 932–33 (7th Cir. 1989) (en banc)

(discussing Rule 11’s standard). “Rule 11 does not require ‘scholarly exposition or exhaustive

research,’ . . . . ‘The rule is not intended to chill an attorney's enthusiasm or creativity in

pursuing factual or legal theories.’ ” Thompson v. Duke, 940 F.2d 192, 195–96 (7th Cir. 1991)

(quoting Kraemer v. Grant Cnty., 892 F.2d 686, 690 (7th Cir. 1990)). Similarly, “to violate

§ 1927, ‘the attorney must intentionally file or prosecute a claim that lacks a plausible legal or

factual basis.’ ” Ordower v. Feldman, 826 F.2d 1569, 1574 (7th Cir. 1987) (quoting Knorr Brake

Corp. v. Harbil, Inc., 738 F.2d 223, 226 (7th Cir. 1984)). “If a lawyer pursues a path that a

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4 To the extent DePaul suggests in its response brief that Saud’s filing of a sanctions motion is itself
    sanctionable under Rule 11 (see ECF No. 201 at 6), the record contains no evidence that DePaul has
    complied with Rule 11(c)(2).

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reasonably careful attorney would have known, after appropriate inquiry, to be unsound, the

conduct is objectively unreasonable and vexatious” and violates § 1927. Id. (quoting In re TCI,

769 F.2d 441, 445 (7th Cir. 1985)); see also Bell v. Vacuforce, LLC, 908 F.3d 1075, 1081–82

(7th Cir. 2018).

       For the reasons discussed above, the state of the summary judgment papers makes it

exceedingly difficult to discern what facts are genuinely disputed. Even so, Saud’s own fact

statement cites deposition testimony tending to support DePaul’s position on the first question

concerning alleged additional complaints of Muslim students. See Pl.’s Stmt. of Facts ¶ 36, ECF

No. 166. Though Saud attempts to impeach the deponent with his prior testimony (see, e.g.,

Reply Supp. Mot. for Sanctions 3–6, ECF No. 203), DePaul’s position is not objectively

unreasonable. See id. On the second issue Saud raises, DePaul cites non-frivolous evidence in

support of its position that Khaled Keshk, the chair of DePaul’s religious studies department,

decided in July 2017 (rather than May or earlier, as Saud contends) not to rehire Saud. See

Def.’s Stmt. of Facts ¶¶ 12, 28, 33, 34, 35, 38, 48, 49, ECF No. 150. Again, Saud reiterates in his

sanctions motion his summary judgment arguments on this issue, attempting to show

inconsistencies that rise to the level, at most, of a genuine factual dispute rather than sanctionable

conduct. See Mot. for Sanctions 7–11. And on the third issue, DePaul cites the testimony of one

of its vice presidents that arguably supports its position on the proper interpretation of DePaul’s

Anti-Discrimination and Anti-Harassment Policy and Procedures. Def.’s Stmt. of Facts ¶ 3.

Saud contests the inferences that a jury may properly draw from this policy and other evidence,

but he has not shown that DePaul’s position is objectively unreasonable.5 Reply 7–8, 10.

       Rule 11 creates duties to one’s adversary and to the legal system . . . . The duty to
       one’s adversary is to avoid needless legal costs and delay. The duty to the legal
       system (that is, to litigants in other cases) is to avoid clogging the courts with paper
       that wastes judicial time and thus defers the disposition of other cases . . . .
Mars Steel Corp., 880 F.2d at 932.
————————————————————
5 This is by no means a comprehensive discussion of the evidence and arguments of the parties on the
   issues Saud identifies in his sanctions motion, and the court implies nothing about whether a genuine
   factual dispute exists on any issue.

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       Because DePaul’s factual positions are objectively reasonable based on the evidence it

cites, neither Rule 11 duty has been breached. Whether either party is entitled to summary

judgment is a question separate and distinct from whether a party’s position at summary

judgment merits sanctions. See, e.g., Kizer v. Children’s Learning Ctr., 962 F.2d 608, 613

(7th Cir. 1992). Here, the court determines only that DePaul’s summary judgment papers satisfy

Rule 11 as to the issues Saud raises in his sanctions motion and that, for the same reasons,

sanctions are not warranted under § 1927 or the court’s inherent authority. See Bilharz v. First

Interstate Bank of Wis., 98 F.3d 985, 989 (7th Cir. 1996) (reversing sanctions for positions taken

at summary judgment); In re Dairy Farmers of Am., Inc., 80 F. Supp. 3d 838, 860–61 (N.D. Ill.

2015) (declining to impose sanctions); see also Bell v. Vacuforce, LLC, 908 F.3d 1075, 1082

(7th Cir. 2018).

       Saud makes one additional argument in his sanctions motion: He contends that one of

DePaul’s investigators, Karen Tamburro, destroyed her handwritten notes of a meeting she had

with Saud in May 2017 (typewritten notes of this meeting exist). The meeting occurred after

DePaul received an attorney lien letter concerning potential litigation against it and Saud (not

this case). See Mot. for Sanctions 7. Saud relies on Trask-Morton v. Motel 6 Operating L.P.,

534 F.3d 672, 681 (7th Cir. 2008), a case in which the Seventh Circuit affirmed a district court’s

decision not to sanction the defendant for alleged spoilation of evidence. Saud’s one-sentence

argument on this point reads: “By destroying those notes, the content of which is an issue in

dispute in this case, Defendant violated a fundamental principle of legal procedure, the

maintenance of evidence.” Mot. for Sanctions 7.

       To the extent Saud seeks spoilation sanctions, he has waived his request because

“perfunctory and undeveloped arguments . . . are waived.” Crespo v. Colvin, 824 F.3d 667, 674

(7th Cir. 2016) (quoting United States v. Berkowitz, 927 F.2d 1376, 1384 (7th Cir. 1991)); see

also Reply 10 (further perfunctory argument in favor of spoilation sanctions). Moreover, as in

Trask-Morton, Saud “has made no showing . . . that [the defendant]’s destruction of any of those

materials was done in bad faith. Such a showing is a prerequisite to imposing sanctions for the

                                                13
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destruction of evidence.” 534 F.3d at 681 (citing Crabtree v. Nat’l Steel Corp., 261 F.3d 715,

721 (7th Cir. 2001) and Mathis v. John Morden Buick, Inc., 136 F.3d 1153, 1155 (7th Cir. 1998)).

                                            Conclusion
         For the reasons stated, the parties’ Local Rule 56.1 fact statements and responses are

stricken for failing to comply with Local Rule 56.1, and their cross motions for summary

judgment are denied without prejudice. Plaintiff’s motion for sanctions is denied. The parties

may refile their cross motions for summary judgment within 28 days (on or before April 18,

2023).


Dated: March 21, 2023                                        /s/
                                                      Joan B. Gottschall
                                                      United States District Judge




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